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 3
                                UNITED STATES DISTRICT COURT
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                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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 6   BRIAN HEINZ, individually and on behalf of          Case No. C24-714RSM
     all others similarly situated,
 7                                                       ORDER GRANTING MOTION TO
                                                         DISMISS WITH LEAVE TO AMEND
 8                             Plaintiff,

 9              v.

10   AMAZON.COM, INC. and DOES 1 through
     10, inclusive, and each of them,
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                               Defendant.
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                                            I.    INTRODUCTION
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            This matter comes before the Court on Defendant Amazon.com, Inc. (“Amazon”)’s
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     Motion to Dismiss under Rule 12(b)(6). Dkt. #16. Plaintiff Brian Heinz opposes. Dkt. #19.
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     The Court has determined that it can rule without oral argument. For the reasons stated below,
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     the Court GRANTS this Motion with leave to amend.
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                                            II.   BACKGROUND
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            For purposes of this Motion to Dismiss, the Court will accept all facts stated in the
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     Complaint, Dkt. #1, as true.
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            Plaintiff Brian Heinz used his phone in 2022 to visit Amazon.com and had
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     “conversations with Defendant via the chat feature on Defendant’s website.” Dkt. #1 at 3. This
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     “included inquiries about shipping disputes related to products purchased on Defendant’s
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     website.” Id. at 3–4. At no time during these interactions did Amazon disclose that it was
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     recording the words being typed back and forth. However, it is Amazon’s practice to record all
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     chat transcripts with customers. If a user asks Amazon whether the chat conversations are
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     recorded and asks for a transcript, they receive the following message: “You can take a
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     screenshot in this conversation since we don’t have an option to send it. No worries, this
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     conversation is also recorded. If in case you contact back we can still review it.” Id. at 4.
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            Mr. Heinz pleads he has “suffered injury as a result of Defendant’s unlawful recording
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     practices,” because he gave his “private information and chat logs unknowingly, which
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     Defendant used to train its staff and software without compensation to Plaintiff,” and that
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     “Plaintiff provided his conversational data which is worth money and received nothing in
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     return.” Id. at 11. Plaintiff also pleads that he and others “purchased products and services
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     from Defendant, which they would not have done if they had known that Defendant intended to
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     record and ‘mine’ every communication between itself and each consumer for valuable data.”
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     Id. at 17. The Complaint includes several pages of quotes from articles as to the value of the
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     data collected from customers in this way. Heinz highlights how “Amazon’s competitors do
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     inform their customers that the live chat conversations are recorded.” Id. at 8.
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            This putative class action is brought by Mr. Heinz on behalf of all persons in the United
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17 States “whose… conversations via the chat feature on Defendant’s website were recorded
     without their consent by Defendant [within the statute of limitations].” Dkt. #1 at 12. Plaintiff
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     brings causes of action for violations of the Washington Privacy Act (“WPA”), RCW §
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     9.73.030, et seq., and the Washington Consumer Protection Act (“CPA”), §19.86, et seq.
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                                             III.    DISCUSSION
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        A. Legal Standard under Rule 12(b)(6)
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            In making a 12(b)(6) assessment, the court accepts all facts alleged in the complaint as
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     true, and makes all inferences in the light most favorable to the non-moving party. Baker v.
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     Riverside County Office of Educ., 584 F.3d 821, 824 (9th Cir. 2009) (internal citations omitted).
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     However, the court is not required to accept as true a “legal conclusion couched as a factual
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     allegation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,
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     550 U.S. 544, 555 (2007)). The complaint “must contain sufficient factual matter, accepted as
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     true, to state a claim to relief that is plausible on its face.” Id. at 678. This requirement is met
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     when the plaintiff “pleads factual content that allows the court to draw the reasonable inference
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     that the defendant is liable for the misconduct alleged.” Id. The complaint need not include
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     detailed allegations, but it must have “more than labels and conclusions, and a formulaic
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     recitation of the elements of a cause of action will not do.” Twombly, 550 U.S. at 555. Absent
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     facial plausibility, a plaintiff’s claims must be dismissed. Id. at 570.
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            Where a complaint is dismissed for failure to state a claim, “leave to amend should be
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     granted unless the court determines that the allegation of other facts consistent with the
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     challenged pleading could not possibly cure the deficiency.” Schreiber Distrib. Co. v. Serv-
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     Well Furniture Co., 806 F.2d 1393, 1401 (9th Cir. 1986).
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        B. Analysis
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            Subject to exceptions, the WPA prohibits a corporation from intercepting or recording a
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17 private communication or conversation without first obtaining the consent of all persons
     engaged in the conversation. RCW § 9.73.030.
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            Under the CPA, a plaintiff must establish five elements: “(1) unfair or deceptive act or
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     practice; (2) occurring in trade or commerce; (3) public interest impact; (4) injury to plaintiff in
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     his or her business or property; (5) causation.” Hangman Ridge Training Stables, Inc. v. Safeco
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     Title Ins. Co., 105 Wn.2d 778, 719 P.2d 531, 533 (Wash. 1986).
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            Amazon first argues that Mr. Heinz fails to plead actual injury as required under the
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     WPA and CPA. As stated above, the CPA requires an injury to “business or property.” The
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     WPA similarly requires a showing “that a violation of [the] statute has injured [the plaintiff’s]
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     business, ... person, or ... reputation.” RCW 9.73.060. Amazon also argues that Heinz fails to
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     allege facts supporting an invasion of his privacy by recording these chat conversations:
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                    He does not identify any personal, sensitive, or otherwise private
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                    information that he shared in his customer service chats. Heinz
                    instead alleges he merely sent “inquiries about shipping disputes.”
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                    Compl. ¶ 10. But shipping logistics do not implicate sensitive or
                    personal information that could establish an invasion of privacy.
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                    See, e.g., Popa v. PSP Grp., LLC, 2023 WL 7001456, at *5 (W.D.
                    Wash. Oct. 24, 2023) (dismissing where plaintiff did not allege
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                    defendant captured “any personally identifiable information”);
                    Saeedy v. Microsoft Corp., 2023 WL 8828852, at *5–6 (W.D.
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                    Wash. Dec. 21, 2023) (alleged collection of “users’ internet
                    browsing activities, internet searches, and online shopping
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                    behavior” does not “implicate[] a protectable privacy interest”);
                    Revitch v. New Moosejaw, LLC, 2019 WL 5485330, at *3 (N.D.
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                    Cal. Oct. 23, 2019) (no reasonable expectation of confidentiality in
                    communications “inquiring about items of clothing on a retail
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                    website”).
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     Id. at 11. Amazon points out that this Court has rejected a CPA claim for lack of injury where
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     “Plaintiffs only allege[d] that their texts and call logs have been recorded and stored.” Id.
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     (citing McKee v. Gen. Motors Co., 601 F. Supp. 3d 901, 909 (W.D. Wash. 2022), aff’d, 2023
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     WL 7318690 (9th Cir. Nov. 7, 2023)).
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            In Response, Mr. Heinz argues that he has been “deprived” of his data, which has
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     “inherent value in today’s digital economy.” Dkt. #19 at 10–11. He responds:
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                    Amazon’s reliance on cases like Saeedy v. Microsoft Corp., 2023
                    WL 8828852 (W.D. Wash. Dec. 21, 2023) is misplaced. See Mtn.
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                    at 6. The information collected by the defendant in Saeedy was not
                    private, personal information, but rather browsing history which
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                    was not linked to those plaintiffs. Saeedy v. Microsoft Corp., 23-
                    cv-1104, 8 (W.D. Wash. Dec. 21, 2023) (“Plaintiffs have not
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                    alleged that they provided any personal or sensitive information to
                    Microsoft that implicates a protectable privacy interest.”).
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                    Similarly, Popa involved website browsing history—not one-on-
                    one private conversations like here. Popa v. PSP Grp., LLC, No.
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                    C23-0294JLR, 2023 WL 7001456, at *1 (W.D. Wash. Oct. 24,
                    2023). Popa also involved Pennsylvania law. Id. at *2. Revitch
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                     involved “browsing activity” and not actual conversations. Revitch
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                     v. New Moosejaw, LLC, No. 18-CV-06827-VC, 2019 WL
                     5485330, at *3 (N.D. Cal. Oct. 23, 2019). By contrast to the cases
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                     cited by Amazon, Heinz has alleged that the data recorded by
                     Amazon was valuable personal information that was taken without
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                     compensation and used to benefit Amazon commercially.
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     Id. at 12.
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             Generous with citations to academic research on the value of customer data, the
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     Complaint is quite miserly with what Heinz actually typed into the recorded chats. The
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     recording of “inquiries about shipping disputes” is not enough to plausibly constitute an injury
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     under these causes of action. See Popa v. PSP Grp., LLC, 2023 WL 7001456, at *5 (W.D.
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     Wash. Oct. 24, 2023); Saeedy v. Microsoft Corp., 2023 WL 8828852, at *5–6 (W.D. Wash.
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     Dec. 21, 2023). As the pleading currently stands, it is far more plausible that the captured
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     information was not private or personal, or that the recording of the information otherwise
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     constituted an injury to Plaintiff. Just because customer data is valuable does not mean it is
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     private. This is a sufficient basis to dismiss all the claims in the Complaint.
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             Amazon also says Mr. Heinz consented to the recording of his chats by accepting
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     Conditions of Use (“COUs”) when he used Amazon’s services. See Dkt. #16 at 8 and 15.
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     Specifically:
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                     Heinz accepted the COU and Privacy Notice when he registered
                     his customer account, each time he signed into his account, and
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                     each time he made his purchases in the Amazon store. See Heinz,
                     2023 WL 4466904, at *2–3 (finding COU “must be accepted in
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                     order for a customer to make an account, every time the customer
                     signs into the account, and every time the customer places an
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                     order”). That Privacy Notice informed Heinz that Amazon
                     “receive[s] and store[s]” information customers provide, and
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                     explicitly notes that such information includes when users
                     “communicate with us by phone, email, or otherwise” and
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                     “complete a … support ticket.” RJN Ex. 1 at 1, 4; Heinz, 2024 WL
                     2091108, at *1. The Privacy Notice also discloses that “By using
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                     Amazon Services, you are consenting to the practices described in
                     this Privacy Notice.” RJN Ex. 1 at 1. In other words, Heinz
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                    consented that Amazon could “receive and store” the information
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                    he provides in communications to Amazon. Based on the pleadings
                    and judicially noticeable matters, Heinz has not and cannot plead
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                    the requisite lack of consent.
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     Id. at 15. Mr. Heinz does not plead anything about this issue. Instead, he argues that the COU
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     language is not explicit enough. The Court finds that, under the facts as alleged, Mr. Heinz’s
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     multiple interactions with Amazon.com, including making purchases, and the explicit language
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     about “communicat[ing] with us by phone, email, or otherwise” and a “support ticket” should
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     have put him on notice that his data, typed into Amazon’s support system, would be received
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     and stored. Adequate notice means consent, which means no WPA claim.
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            The reasons above are sufficient to dismiss the claims and the Court need not address
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     other issues raised in Amazon’s Motion. However, the Court finds that the above deficiencies
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     with the Complaint are largely due to a lack of detail and can possibly be cured by amendment.
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     The Court will therefore grant leave to amend. The Court urges Plaintiff to consider all issues
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     raised in Amazon’s Motion.
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                                            IV.     CONCLUSION
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            Having reviewed the relevant pleading and the remainder of the record, the Court hereby
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     finds and ORDERS that Defendant’s Motion to Dismiss under Rule 12(b)(6), Dkt. #16, is
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     GRANTED. Plaintiff’s claims are DISMISSED with leave to amend. Plaintiff shall have thirty
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     (30) days to file an amended complaint. If Plaintiffs fail to do so, this case will be closed.
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            DATED this 18th day of December, 2024.
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                                                           A
                                                           RICARDO S. MARTINEZ
                                                           UNITED STATES DISTRICT JUDGE
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